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                            UNITED STATES DISTRICT COURT
                                       IN THE
                            SOUTHERN DISTRICT OF GEORGIA                     A        f 1
                                                                             / . n-   1 1




ROGERIO CRAVES SCOTTON,                        CASE NO:         -ci^-1W
               PLAINTIFF,




          V.




FEDERICO A, MORENO,
         DEFENDANT,




                 CIVIL COMPLAINT PURSUANT TO 42 U.S.C. § 1983, REQUEST
                    FOR A JURY TRIAL, DAMAGES AND INJUNCTIVE RELIEF




       Comes now, Rogerio Chaves Scotton, ("Plaintiff"), by and through

pro se, respectfully moves this Honorable Court with this civil complaint

pursuant to 42 U.S.C. § 1983, and to request a jury trial, damages and

injunctive relief against Federico A. Moreno ("Defendant"), for violating

the Plaintiff's constitutional rights, due process rights and for obstructing
justice. In support of his civil complaint, the Plaintiff states as follows:



                              INTRODUCTION




       On March 8, 2012 an indictment was lodged against Plaintiff Rogerio

Chaves Scotton, a Boca Raton businessman and professional international




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 race car driver/, charging him with the alleged offense of mail fraud pursuant

 to 18 U.S.C. § 1341.

        On July 18, 2013, Mr. Scotton was charged by a second superseding

 indictment with twenty seven counts of mail fraud pursuant to 18 U.S.C.
§ 1341 and two counts of making false statements to a government agency
 pursuant to 18 U.S.C. § 1001(c)(2). See, D.E.94.

        On January 26, 2014 trial began. Despite numerous times Mr. Scotton

requested lawyer representation, he was denied, after one public defendant

and two court-appointed attorneys along with eleven changes composed of

two district court judges and nine magistrate judges.

       In February 2014, Mr. Scotton was convicted as charged after trial

on a second superseding indictment, and solely based on manufactured^
unverified and unaudited spreadsheets accompanied by false and contradictory

testimony.

       The Plaintiff; appealed his conviction. The Appeals Court for the

Eleventh Circuit affirmed on April 12, 2016, after an unprecedented seven

(7) extensions requested solely by theCburt appointed attorney without informing

the Plaintiff. On November 14,^016 the, Plaintiff filed his writ of certiorari

which the Supreme Court denied on December 12, 2016.

       The Defendant, Federico A. Moreno was assigned as the presiding

Judge on July 7, 2014. Since he was assigned. Plaintiff has filed numerous

motions to attack his conviction under different provxsions. However, every

single motion filed to the Southern District Court for the Defendant's' review

was denied without stating a reason, did not identify material disputed

facts and give no hint of its conclusions of law.

       On July 7, 2017, the Plaintiff filed a motion to the Southern; District

of Florida pursuant to § 455 requesting the recusal of the Defendant for




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good cause. So far there has been no response given by the court. See,

UNITED STATES V. SCOTTON, case no, 1260049.




                           I. JURISDICTION




       This Court has jurisdiction over this complaint because (1) the

Defendant deprived the Plaintiff of a right secured under the Constitution

and Eederal laws, (2) that such deprivation occurred under color of Federal

law. See, BINGHAM v. THOMAS, 654 F.3d 1171, 1175, (11th cir. 2001)(quoting

ARRINGTON V. CABB COUNTY, 139 F.3d 865, 872 (11th cir. 1998), and (3) and

the Plaintiff is a Georgia resident, has filed this lawsuit against the

Defendant, a Florida resident. See, MACGINNITIE v. HABBS GROUP, LLC, 420

F.3d 1234, 1239 (11th cir. 2005).




                            II. CIVIL COMPLAINT




       For his complaint against Federico A. Moreno, ("DEFENDANT"), Rogerio

Chaves scotton ("PLAINTIFF") states as follows:



       1) At all times material hereto, , the Plaintiff Rogerio Chaves

Scotton was a Georgia resident.



       2) At all times material hereto , the Defendant Federico A. Moreno

was a Florida resident.




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      3) At   times material hereto, - The Defendant Federico A. Moreno was

a Federal Judge on the Southern District of Florida,



      4) At all time material here to, the defendant Federico A. Moreno

has prevented the Plaintiff from exercising his substantial rights and

consequently violated the Plaintiff's         constitutional rights as well

his due process rights as set below.



      5) The venue is proper in this judicial District and Circuit because

(a) the Defendant's conduct described here in was       entered into there

and/or, (b) the tortions conduct described occurred and caused serious

losses, prejudicial damages, unlawful prison time, and damages there and/or

(c) the defendant agrees to be subject to this lawsuit therein.".




                        III. ALLEGATIONS COMMON TO ALL CAUSES
                                        OF ACTION




       6) On July 7, 2014, the defendant Federico A. Moreno was assigned

to the Plaintiff's criminal case as the presiding Judge.



       7) The Defendant's conduct was married by numerous acts of breach

of duty, obstruction of substantive due process, obstruction of procedural

due process, erroneous judgment, actual bias and judicial bias, and obstru

ction of justice.




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       A. BREACH OF DUTY




         The defendant violated the Plaintiff's constitutional rights when

 he failed to act as the law obligates when ruling on a motion. The numerous

 defendant's motion denials stated no reason, did not identify material

 disputed facts, and gave no hint of its conclusion of law. Had the defendant

Put .aside his alleged bias toward the Plaintiff, it is reasonably possibility

 that the Plaintiff would receive relief        toward his criminal conviction

and would regain his freedom. This breach of duty then entitles the Plaintiff

to relief and injunction to avoid irreparable injury.



        B. OBSTRUCTION OF SOBSTANTIVE DUE PROCESS



         The Defendant violated the Plaintiff's 5th amendment right because

the due process requires the legislation to be fair and reasonable in

content and to further a legitimate governmental objective. Not one motion

filed by the Plaintiff toward his criminal case was given a due process,

meaning, allowed the other party to respond and the plaintiff to object

before the Defendant denial ruling.

        An injunction is required in this case in way that all the Defendant's

order denials be reversed, the motions            filed by the Plaintiff be

reviewed by an unbiased Judge and given the proper ruling required by

law.




       C. OBSTRUCTION TO PROCEDURAL DUE PROCESS




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        The Defendant's order denials give no explanation of relevant laws

 or facts. The denials merely recite no genuine issue of material facts

 roTBining. This Conduct by the defendant has violated the Plaintiff's 5th

 and 6th amendment rights where the Plaintiff was deprived of his liberty.



       D. ERRONEOUS JDDGMENT



        The Defendant refused and failed to correct the recharacterization

of the plaintiff's motion to request a new trial which was done without

the required protocol. On two occasiO-ns., the Plaintiff requested the Defendant

to correct the erroneous error in recharacterization of his motion without

any warning or required protocol under law.

        The Defendant has abused his discretion by not applying the correct

legal standard and law in a proper manner. The Plaintiff's constitutional

rights to a fair judicial process was violated.

      The Plaintiff requested based on . newly discovered evidence^an
evidentiary/ hearing in his criminal case as an injunction to avoid unnece

 ssary incarceration time because a miscarriage of justice had occurred.



      E. ACTUAL BIAS AND JUDICIAL BIAS


       The Defendant has acted outside the functioning of the court system

and has seriously prejudiced the Plaintiff who continues to suffer wrongful

incarceration. Substantial questions of law, errors and evidence was prese

 nted to the Defendant for proper review and ruling under the law. The

amount of denied orders made by the Defendant was opaque and unilluminating

as to relevant facts and law.




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      E. OBSTRUCTION OF JUSTICE



       The Defendant has interfered with the orderly administration of

law and justice by not incorporating any argument to serve as explanation

for his ruling on any motion filed by the plaintiff.

       The Plaintiff contends that the Defendant denied him due process

rights to access his criminal record which is public record. He denied

the Plaintiff every attempt to appeal his denial decision.

      The Plaintiff was precluded by the defendant to pursue any remedy

opportunity or defense. Obstruction of justice is a crime in must jurisdiction

      This unlawful conduct committed by the Defendant has caused inrreparavel

injury to the plaintiff which requires an injunction for relief. THe conduct

which complained has deprived the Plaintiff of rights and privileges securred

by the constitution. AiXlERICAN MANUFACTURES MUTUAL INS. CO. v. SULLIVAN, 526

U.S. 40, 119 S. Ct. 977, 985, 143 L. Ed. 2d 130 (1999); PARRATT V. TAYLOR,

451 U.S. 527, 101 S. Ct. 1908, 68 L. Ed. 2d 420 (1981); WILLIS v. UNIVERSITY

HEALTH SERV"S INC., 993 F.2d 837, 840 (11th cir. 1993).



                       IV. FIRST CAUSE OF ACTION

               (VIOLATION OF PLAINTIFF'S CONSTITUTIONAL RIGHTS)

      8) Paragraph 1-7 are incorporated hereing by reference as through fully

set forth at lengh.



     9) Plaintiff contends that the record of his criminal case shows that

(1) the defendant's conduct deprived him of a right secured by the constitu

 tion or law of the United States, and (2) the deprivation was committed

under the color of federal law. See 42 U.S.C. § 1893. See also POLK COUNTY




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V. DQDSON, 454, U.S 312, 102 S. Ct. 445 70 L. ed 2d 509 (1981); WEST v.

ATKINS, 487 U.S. 42, 48, 1085 S. Ct. 2250, 101 L, ed 2d 40 (1988); BUTZ

V, ECONOMOU, 438 U.S. 478, 498-99 S. Ct, 2984, 57 L. Ed. 2d 895 (1978)

(analongizing BIVENS claims to claim's under section 1983).

       The Plaintiff complaining that the defendants breach of duty is
well established because these numerous motion denials failed to act as

the law obligates. Those denials stated no reason and have no conclusion

of law. The Plaintiff was conseguently denied due process rights and oppor
 tunity to defend. ZATLER v. WAINW-RIGHT, 802 F.2d 397, 401 (11th cir.1983).



       10) The defendant's numerous denials to the Plaintiff's motions

in his criminal case is not a judicial matter normally perform by a judge.
There is clear abuse of discretion and apparent judicial bias toward the
Plaintiff. Therefore, the Defendant here should not be entitled to immunity
because he has failed to comply with due process. STUMP v. SPARKMAN, 435
U.S. 349, 98 S. Ct. 1099 (1978). The immunity is overcome here because

the Southern District of Florida have taken nonjudicial actions and the

judicial actions taken toward the Plaintiff's claims were in the complete

absence of all jurisdiction.

       Therefore, the declaratory relief against the Defendant for action

taken within his judicial capacity is ordinarily available by reverse of

all his order denials.




      12) The Defendant has performed the acts in guestion which the Plaintiff

complaint here in this lawsuit in his judicial capacity, and those performed

denials by the Defendant are not the normally performance by a judicial




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office. Thus, the Defendant conduct is not immune and the Plaintiff is

entitle to a relief. The Defendant's order denials including denial of

trial records material from his criminal case. The Denial didn't provide
any explanation and falls clearly outside his subject matter jurisdiction.

Therefore, the Defendant chose to obstructed the justice and such conduct

has seriously deprive the Plaintiff his liberty and consequently violated
his constitutional rights and due process rights.



                          V. SECOND CAUSE OF ACTION
                            (OBSTRUCTION OF JUSTICE)



       13) Paragraph 1-7 are incorporated herein as though full set forth

at lengh;.



      14) The defendant has interfered with the orderly administration

of law and justice by denying the Petitioner to defend himself by obtaining

public records, proper review of exculpatory evidence and mislabel or

recharacterized plaintiff's pleading without the mandatory required protocol

or properly applying the established laws.

       The plaintiff's claims is      not a defamation action, but involved

seemingly judicial bias and obstruction of the administrative judicial system

which was cognizable under § 1983.

       As result of the Defendant foregoing actions, the Plaintiff alleges

that he was deprive of due process and equal protection of law under the

5th and 6th amendment. Therefore, the Plaintiff request a injunction relief

as a compensatory damages to have all the Defendant decision toward the

Plaintiff criminal case reverse and properly review by a unbiased Judge




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and be release pending the resolution of those appeals because a miscarriage
of justice has occurred.

       Pursuant to PAUL v. DAVIS, Suppra, the Plaintiff sufficiently has

shows that the Defendant has deprive him from his liberty interest where

the defendant refuse to properly review exculpatory evidence filed by the

Plaintiff that could very well vacate the conviction and consequently set
his criminal case for a new trial or even a dismissal of the case.




               VI. WHEREFORE, PLAINTIFF PRAY FOR JUDGMENT AS FOLLOWS;
                     (WHERE SPECIFIED THE PRAYER IS AS TO ACTION)




     15) PUNITIVE DAMAGE


       The Defendant conduct was reckless, negligent and not prescribed in

the matter of the laws. The Plaintiff request to be release pending review

of all the Defendant's order denial and upon established that fraud upon

court have occurred, the plaintiff criminal case should be dismissed.



     16) EXCESSIVE DAMAGE

      The Plaintiff was submitted to a unreasonable punishment pursuant

§ 3553(a) by the gravity of the allegedly offense. Such punishment is not

justified and is grossly especial when the government has offered the Plaintiff

in 4 occasion with a plea agreement caring time served. The Defendant refuse

to properly review those issues which was presented in numerous motions.

The Plaintiff request as excessive damage for his criminal sentence be vacated.




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     17) -PERMANENT AND CONTINUE DAiVIAGE



         The Defendant negligence acts has permanent damage the Plaintiff

and is continue to damage the Plaintiff. The Plaintiff has served and continue

to serve prison time where substantial evidence and facts proves his innocence

         The Plaintiff has lost his contract to run in NASCAR Series, and

this allegedly prosecution will impact forever the Plaintiff, his family

and his racer car career. Therefore, the Plaintiff ask for pemanent and

continue damages in the total amount of $2,582,935.60.



     18) DISCRETIONARY DAMAGE




         The Defendant negligence, obstruction of justice and bias has cause

and continue to cause to the Plaintiff mental anguish, pain and suffering.

Therefore, the Plaintiff request a discretionary damage relief from the

Court or from the jury, in any case a trial will take place and the Defendant

is found guilty by a jury.




                                  CONCLUSION




      Therefore, the Plaintiff is hereby and respectfully to request a

order to the Defendant to respond to this lawsuit without any delay in

the interest of justice. This Court than, should review these issues and

make a proper determination to resolve the issue at bar or grant a jury

trial.




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                                                     rs SCOTTON
                                       RBS^NO: 99370-004
                                       D. RAY JAMES C.F.
                                       P.O. BOX 2000
                                       FOLKSTON GA 31537




                                PROOF OF SERVICE




     I Rogerio Chaves Scotton, do certify that this August           2017, I

have served the attached lawsuit on the Southern District of Georgia in
the above proceeding. I have served this lawsuit via. United States-Postal

Service (USPS) Certified Mail through, D. Ray James C.F. legal mail."




                                 CHAJ^S SCOTTON
                          RB^NO: 99^70-004
                          D. RAY JAMES C.F.
                          P.O. BOX 2000
                          FOLKSTON GA 31537




                                     (12)
